Pee CSSE1:08-cv-04095-PACIEF Mb eurnent AB PEiled 12/02/10 Paga ota. Boss

BRAFMAN & Ross, P.C. Exhibit “B”
ATTORNEYS AT LAW .
I67 THIRD AVENUE
ZGTH FLOOR
NEW YORK. NEW YORK 1OOI7
TELEPHONE, (2121 750-7800
FACSIMILE: (2121 750-3906 “

BENJAMIN GRAFMAN
CHABLES A ROSS

JENNIFER A. LIANG Febr vary 18, 2002

MELINDA SARAPA
ANSE A CLLAN
4

VIA FEDERAL EXPRESS
PERSONAL & CONFIDENTIAL

Mr. Mehdi Gabayzadeh
President and Chief Executive Officer
American Paper Corporation

300 Rabro Drive

Hauppauge, New York 11788

MARK M, BAKER
GF COUNSEL

 

Dear Mr, Gabayzadeh:

You have requested that this firm undertake to represent you in connection
with a criminal investigation presently being conducted by the United States
Attorney’s Office for the Eastern District of New York. To date, no formal criminal
charges have been filed against you although you have been characterized as one
of the principal “targets” of that investigation. The investigation, relates in part, to
various financial relationships maintained by American Tissue Inc., a company that
you were formally associated with and The LaSalle Bank.

in return for representation during the pre-indictment stage of the proceedings,
you have agreed to pay this firm a retainer of $100,000.00 against which | will bill
you at my hourly rate of $650.00 per hour for time expended by me In connection
with this case, and at the rates of $450.00, $375.00 and $350.00 per hour for time
required of any attorney associated with this firm whose assistance may be
necessary in order to properly represent you in this inquiry. In addition, you will be

billed at the rates of $125.00 per hour for work performed by any paralegal and/or
law clerk whose assistance may be required. 7
a

TE A ee

ase 1709-2V-04095-PAC-ICE Decument' 99-4 Filed 12/02/10 Page 2of2Q_.. —.

3RAFMAN & ROSS, P.C. ,

itis understood that the $100,000.00 retainer, constitutes a minimum fee that

this firm requires in matters of this kind, recognizing as | do when setting the
minimum fee, the time that will be required, the degree of difficulty of the case, the

urgency of the matter, the necessity of declining other work so as to have the time

available to properly attend to this matter and my degree of expertise and

experience in handling cases of this nature. Accordingly $1 00,000.00 is hereby

specifically designated as a general minimum fee for assuring our availability to

devote an appropriate amount of attention to this matter and to compensate this firm

for the possibilty of having to defer other work as a result of taking this case. It is

thus understood and agreed that no portion of the $100,000.00 minimum fee Is to be

_ratumed regardless of the amount of time that is involved in attempting to resolve |
this matter without criminal prosecution. :

| will keep careful track of the time expended by me and the other attorneys
associated with this firm in connection with these matters and so advise you by
monthly statements of account that will be malied to you at the above address. in
the event this matter is resolved within the time period reflected by the initial retainer,
then no additional fees will be incurred in connection with these proceedings. To the
extent however, that the time required to properly represent you in these matters
exceeds the period covered by the retainer then | will so inform you by monthly
statements of account that will be mailed to you at the above address. Any balance
due on any such statement is to be paid upon receipt of the statement in question.

It is understood that the fees discussed in this agreement relate to
representation of you personally by this law firm. Accordingly, any fees incurred by
any other attorneys and/or law firms whose services will be required in order to
properly represent you in this and/or other proceedings are to be paid by you directly
to those firms and are nat to be considered the obligations of this firm. Nor is any
part of the retainer discussed herein to be used to pay any fees incurred by any other
firm whose assistance may be required in order to properly represent you in this
matter. It is my understanding that you have already retained other counsel to
represent you in connection with pending bankruptcy proceedings and/or other civil
litigations that are either pending or are expected to be filed in the near future. Fees

- to those firms are to be paid by you and are not the obligations of this firm.

Itis also understood that should the services of a private investigator and/or
forensic accountant be required in order to properly represent you, any such fees
incurred by any investigator and/or forensic accountant are to be paid directly by

you, with the understanding that no such additional legal obligations will be incurred
on your behalf without your prior approval.
Ree a>

_ FEB-36q e844: 092\404095-PACHIEF TOttIMENFSSAK Fed 12/02/10 Page Bf 28>"

BRAPMAN & Ross, PC. ,

Finally, as we discussed, this retainer agreement will continue in force up until
such time as you are formally charged by Indictment or formal Complaint, of a
determination is made by the United States Attomey's Office that no criminal
prosecution will be forthcoming. In the event that this case is resolved pre-
indictment, no portion of the $1 00,000.00 retainer will be returned to you.
..
in the event that formal criminal charges are filed against you, however, a
separate retainer agreement will be executed between us when and if necessary
should you request that this firm continue to represent you if and when formal
charges are filed. At that time, we will provide you with the option of continuing on
an hourly basis and/or discuss with you the terms of a flat fee agreement to cover
‘the post-indictment pre-trial period and any trial should one be held. If at that time
we agree to change the terms of our fee agreement from an hourly agreement fo a
flat fee agreement | will apply as a credit against any flat fee, any unused portion of
the $100,000.00 retainer if any credit balance remains at that time. Any. modification
of our fee agreement however, is to be. documented in a separate retainer
agreement executed between us if and when it becomes necessary for us to do so.

if this letter accurately sets out the terms of our understanding in connection
with this matter, please so indicate by signing a copy of this agreement where
provided and returning it to me at your very earliest convenience.
Very truly yours,

Benjamin Brafman

SIGNED AND AGREED TO:
MEHD! GABAYZADEH

DATE:

O\W da
Case 1:09-cv-04095-PAC-JCF Document 93-1 Filed 12/02/10 Page 4 of 20

PRIVILEGED AND CONFIDENTIAL ATTORNEY WORK PRODUCT

Memorandum .
TO: Ben Brafman ere
| Exhibit “C”
FROM: Jennifer Liang ~ |
_ RE: | Mehdi Gabayzadeh
“DATE: March 26, 2002

 

The following is a summary of yesterday's meeting with AUSA John Curran and
representatives from the FBI, including Special Agent Charles Butruch, at the United
States Attorney's Office for the Eastern District of New York.

The Government is currently conducting a full investigation with respect to the
collapse of American Tissue, Inc. Curran indicated that it is early i in the investigation.
He has currently been on this case for one month.

Curran indicated that an indictment is not imminent.. Curran was amenable to a
voluntary surrender, keeping the lines of communication open prior to any indictment,

and the possibility of a pre-indictment disposition.. We agreed to: accept service on
_Mehdi’s behalf.

Curran would be interested in speaking to Mehdi, Curran described Mehdi as

the “top | guy at the company” but indicated that he was ‘not saying:that Mehdiiwasithe -

RR WEN.

vilop.guysin a.fraud”:at this point. Curran subsequently indicated that the ‘agents. now

_.more about this case than he does and that it is going in the direction ofa 2 criminal
matter. .

   

Curran requested the names of the individuals at Lasalle-with whom Mehdi
spoke with respect to the loan agreement and the substance of those conversations. In

addition, Curran requested the name of the New Hampshire detective with whom you
spoke. —
ab Sd A ed ae 6 Vu 42fvUvsIuU fret

Case 1:09-cv-04095-PAC-JCF Document 93-1 Filed 12/02/10 Page 5 of 20

BRAFMAN & ROSS, P.C.
ATTORNEYS ATLAW —
767 THIRD AVENUE Exhibit oTy”’
Z6TH FLOOR
NEW YORK, NEW YORK (O0I7 —

TELEPHONE: (2121 750-7800
’ FACSIMILE: 1212) 750-3906

 

April 5, 2002

PERSONAL & CONFIDENTIAL

. Mr. Mehdi Gabayzadeh
President and Chief Executive Officer *
American Paper Corporation
300 Rabro Drive
Hauppauge, New York 11788

For PROFESSIONAL SERVIDES RENDEREO:
March 4, 2002: March.31,.2002

AMOUNT

Benjamin-Brafman .
45 hours at $650 perhour..... 0.0.00. cee erent eebeneeuvens 3% 28,250.00
85 hours at $375 perhour..... 0.0.0.0. cece cee eee cee n eben ene nnanes $ 31,875.00
Andrea Zellan
1G hours at $375 per hour... 0... ce ec eee cere eenennneucnnence $ 3,750.00
Paralegal . /
22 hours at $125 perhour.... 0. eee ee ese yee rae cea een ee $ 2,750.00
Mark Baker ,
6 hours at $450 per hour... cee ees e tee tuneeauununnnnes $ 2,760.00
Disbursements 0.0... cece cece cree e eevee tetevarnetnrblnbeeeere. $ 275.00
| 370,600.00
CREDIT BALANCE FORWARD |... 0.00. ooo o cece cece cc cecee cece $ 15,750.00
Balance ....,.....,, Cee cu eeu cuucuveusuuseys Leet eeeesneaeeceyee $ 54,850.00
Payment (3/5/02) 2. cece cece ences eceeeveneee, . - $50,000.00 |

TOTAL BALANCE DUE ......... Serene wenevrer esas eee ewsecen ne rars 94,090.00
Case 1:09-cv-04095-PAC-JCF Document 93-1 Filed 12/02/10 Page 6 of 20

PRIVILEGED AND CONFIDENTIAL ATTORNEY WORK PRODUCT

MEMORANDUM
TO: Ben Brafman |
shast 66 9
Exhibit “E’
FROM: Jennifer Liang
RE: Mehdi Gabayzadeh
DATE: February 22, 2002

 

Yesterday, I met with Mehdi at American Paper Corporation in Happauge. The following
is a brief summary of my visit to American Paper.

Bankruptcy Proceedings and Civil Suits

Mehdi has approximately seventy-seven companies. Approximately twenty-eight of these
companies are in bankruptcy. I believe that Moses & Singer is handling most of the bankruptcy
proceedings. Cassandra Joseph has advised me that the “out of the box” (those that are not in
bankruptcy) companies are currently represented by Nicholas Kaiser.

Besides the bankruptcy proceedings, there are numerous civil lawsuits wherein Mehdi is a
party. Richard Freeman, a former associate of Kaiser, is handling most of them. However,
Moses and Singer may be handling some as well. I have asked Cassandra Joseph for a list of all
pending civil suits and the contact information with respect to each. I informed Mehdi that we
now need to be advised prior to his attendance at any deposition and with respect to disclosure
issues. However, it is imperative that we inform all civil counsel:

With respect to Chicago lawsuit, I spoke with Chris Tracy today. His firm has filed a
motion to extend Mehdi’s time to answer the complaint until March 29, 2002. He will have an
answer on his motion by Tuesday. Presumably, the motion will be granted and at least extend
the time until mid March. This will give us a chance to review the pleadings prior to service.

This afternoon, we received a notice for Mehdi’s deposition in the ATI bankruptcy
proceeding. I have a call into Cassandra about same.

Background

Mehdi first came to, the United States in 1980. Mehdi had the same business in Iran prior
to his arrival in the United States. He was jailed in Iran overnight-Mehdi asserted that it was
because he was Jewish. Shortly thereafter, his father informed him that they were leaving Iran.
Mehdi fled Iran with his parents —31 family members in total. They went to Paris, then
Case 1:09-cv-04095-PAC-JCF Document 93-1 Filed 12/02/10 Page 7 of 20

' Amsterdam, where they rented a place for 45 days, and then obtained visas to come to the United
States. Mehdi became a United States citizen five years ago.

In October of 1981, American Tissue hired a salesman. The entire sales in 1991 were
$700. American Tissue’s first line of credit was with Northstar Bank, which subsequently
became Fleet Bank.

Ed Stein was the Executive Vice-President and Chief Financial Officer. John Lorenz was
the Vice-President of Finance and Nick Galante was the Chief Operating Officer of ATI. Frank
Robinson was the assistant to all three. Another individual, Rob, worked with them.

Sina Kohen worked in the accounting department. I have requested a list of employee names
who worked closely with Stein, etc. Ron Gasper, American Paper’s current CFO, was not at the

company during the period involved. He may be helpful to speak to regarding overall
procedures.

On November 2, 2001, Mehdi resigned from ATI. The company has lost over $90
million since he left. Prior to the bankruptcy, ATI alone had 4,500 employees. 40 of Mehdi’s
former employees are still at ATI during the liquidation. Some of these individuals have come
back to work for Mehdi’s other companies.

LaSalle Line of Credit |

In 1991 or 1992 American Tissue started a $16-17 million line of credit with LaSalle. It
thereafter became $60 million. Then, in July of 1999, it became $100 million. It was then
increased to $145 million in March or April of 2001. Mehdi dealt with Chris Clifford, the Vice
President of LaSalle Bank, and Tom Brannon (phonetic), Clifford’s assistant.

Nicholas Kaiser negotiated the loan agreement with LaSalle. In addition, Nicholas Kaiser

also negotiated Mehdi’s personal guarantee this past summer, which is the subject of the civil
suit pending in Chicago.

The collateral reports forwarded to Lasalle on a daily basis were prepared by David
Freechee, American Tissue’s contact with LaSalle, and signed by either Ed Stein or John Lorenz.
David Freechee and John Lorenz are still working at American Tissue.

Mehdi indicates that he had a very good and open relationship with Chris Clifford.
“There were no secrets.” Mehdi provided an example of their openness. When American Tissue
obtained the business of Walmart in Mexico, Clifford indicated since it was located in Mexico,
he would not give Mehdi more than $1 million. Approximately one year later, Clifford indicated
that he decided he would not give Mehdi anything with respect to the Walmart in Mexico.
Accordingly, Mehdi showed me a collateral report dated 7/31/01 wherein the Mexico inventory
was subtracted from the eligible inventory, and, thus, was not a part of the borrowing base.
Case 1:09-cv-04095-PAC-JCF Document 93-1 Filed 12/02/10 Page 8 of 20

gi

 

Potential Areas of Concern **

ATI did business with a Swedish company, Ekman. Ekman provided a large loan to
ATY?’s “out of the box” (out of bankruptcy) affiliate, Super American Tissue. Accordingly,
Ekman began paying only approximately 85 percent of ATI’s invoices, indicating that they were
deducting the difference from the loan owed by Super American. Mehdi indicated that Ed Stein
will assert that Mehdi and he had an agreement with Ekman wherein they would provide
payment for only a percentage of the invoice. While Ekman would be a part of the borrowing
base, when Ekman’s invoices were over 90 days delinquent, it was no longer part of the
borrowing base. Mehdi could not remember the date of the loan to Super American or the date in
which he began business with Ekman. (Nicholas Kaiser should have this information).

The same scenario occurred with CNG/Lindenmaier. Again, CNG provided a large loan

to Super American. Accordingly, CNG only paid a percentage of its invoices. Again, Mehdi
does not recall the relevant dates.

Mehdi also informed me that when ATI began having financial difficulties in May of
2001, Ampad, an “out of the box” affiliate, wire transferred money to ATI’s vendors so that ATI
did not lose its line of credit with LaSalle. Now, Ampad is an unsecured creditor of ATI in the
bankruptcy proceeding. He has provided me with a list of wire transfers between affiliates and
certain vendors from May, 2001 through August, 2001.

Mehdi previously had a good relationship with Kimberly Clark (“KC”), manufacturer of
“Huggies” diapers. American Tissue had a deal with KC wherein KC would ship pulp to ATI on
consignment. ATI would then sell the finished goods. LaSalle Bank was aware of ATI’s
agreement with KC. Contra Mehdi provided an example if KC owed ATI $7 million and ATI
owed KC $4.7 million, only the difference, namely 3.3 million would be a part of the borrowing

base. The term “contra” was noted on the collateral report, indicating that it was not a part of the
borrowing base.

ATI had a similar relationship with Koplik Papers.

' Mehdi agreed to attempt to identify other transactions that may be relevant. He agreed to
provide us with additional information next week.

Ed Stein’s Discharge

On September 3, 2001, Labor Day, Mehdi with Nicholas Kaiser in attendance, fired Ed
Stein since it was brought to Mehdi’s attention that Stein had overevaluated ATI’s inventory.
Mehdi and Nicholas Kaiser confronted John Lorenz with respect to the overevaluation. John
Lorenz admitted to Kaiser and Mehdi that he was involved in the overevaluation and that he did

it since he did not want Ed Stein to fire him. Mehdi asked, “Why didn’t you tell me?”. Lorenz
cried. Lorenz is still working at ATI. . ,
Case 1:09-cv-04095-PAC-JCF Document 93-1 Filed 12/02/10 Page 9 of 20

Mehdi also indicated that despite the fact that the inventory was overevaluated, Arthur
Andersen signed off on the overevaluated number. When confronted about this, Arthur
Anderson indicated that it does random samplings for its audit and that everything that Arthur
Anderson did was proper. .

Price Waterhouse Audit

David Heller was Lasalle’s attorney in the bankruptcy. Nicholas Kaiser asked Heller to
recommend a good company to perform an audit. Heller recommended PWC. Joe D’ Amico was
Mehdi’s contact person to Price Waterhouse Coopers (PWC). Mehdi and Cassandra provided
me with PWC’s audit report marked “draft”. Neither Mehdi nor Cassandra has a different report.

When Joe D’ Amico from PWC informed Mehdi that his inventory was overevaluated,
Mehdi informed D’ Amico that the inventory had been evaluated by a company retained by
Lasalle. Mehdi was charged $140,000 for the company’s services to evaluate ATI’s inventory.
Joe D’ Amico was forwarded a copy of the company’s evaluation.

Lasalle Audits

Mehdi advised me that four or five times a year—every three months—two people from
LaSalle would come to the company to perform an audit. The audits would last ten days on the
average. They never raised one issue during the period of their audits. Mehdi paid for all of their
expenses while at the company. Mehdi would advise them that if they came across anything
considered bad, to please inform Mehdi first. If he cannot clear it up, call Chris Clifford.

Certifying Financials

Mehdi indicated that each year Ed Stein, John Lorenz and he were required to sign a
documents verifying certain financials. The last time that he signed this, he asked John Lorenz,

“Is this kosher?” Lorenz responded “yes”. Mehdi indicated that Cassandra may be able to
provide us with this documentation.

Sina Kohen (inflated numbers and inter-company transfers)

I spoke with Sina Kohen, current employee of American Paper-and former employee of
ATI. Sina Kohen was employed at American Tissue from September of 1997 until January of
2000. He primarily worked for Mehdi’s partner during this period. From January of 2000 until
September of 2000, he went to Europe to finish his schooling. Beginning in September of 2000,
he began working in the accounting department at American Tissue.

He indicated that Ed Stein was the top man with respect to the accounting department. |
Jobn Lorenz reported to Ed Stein. There was a buffer, namely Lorenz, between Stein and the rest
of the department—approximately ten-fifteen individuals.

Although Kohen could not provide specifics, he indicated that many of the numbers that
Case 1:09-cv-04095-PAC-JCF Document 93-1 Filed 12/02/10 Page 10 of 20

they were dealing with on a day to day basis did not make sense to him, He indicated that if the
company was doing as well as the numbers said then why were they having financial difficulties.
He also indicated that many inter company transfers seemed inappropriate. He said that people
would make jokes but noone would come right out and say it for fear of losing their job or
getting in trouble. For weeks, Kohen attempted to reconcile certain transfers but to no avail. The
people in accounting would joke and call him “due to, due from”. Arthur Anderson always
posed questions involving the inter-company transfers. He did not have answers for them. In
addition, the Price Waterhouse auditors posed questions with respect to the transfers. He
indicated to Price Waterhouse that they appeared inappropriate but provided no specifics. _

Kohen also indicated that some of the transfers involved transfers from “Lakeview
Tennessee”. However, there was no Lakeview Tennessee. It was a bogus company. He

indicated that he may have a document evidencing this. He agreed to provide it to Cassandra if
found.

| Kohen indicated that Ed Stein was “fishy”. He was a dictator, who pushed middle
management away. He also described him to be a heavy drinker, a workaholic and a bully. He
would work from 5:30 a.m until between 5:00 and 8:00 p.m.

I later spoke with Cassandra Joseph, who indicated that she had heard that Ed Stein had
“child porn” on his computer in the office. She also informed me that Laura Eckerle, ATI’s
former in house corporate counsel, quit because she would not take Stein’s directives to do things
that she felt were unethical or inappropriate. Cassandra can likely provide the contact
information for Eckerle.

Status

Cassandra Joseph, American Paper Corporation’s corporate counsel, has only been with
the company for three weeks. Accordingly, she has extremely limited knowledge. In addition,
most individuals with personal knowledge are no longer employees of Mehdi. Nicholas Kaiser
appears to be the only person with intimate knowledge of the various corporations. However,
Cassandra has informed me that he will likely be very hesitant to provide us with too much
information since he has been conflicted out (according to Cassandra, he is representing Mehdi’s
“out of the box” companies at the present time). Subsequent to our review of the documents
provided by Mehdi, I believe it is very imperative that we get a meeting with Nicholas Kaiser to
pick his brain about the loan agreement, the circumstances surrounding Stein’s resignation, his
involvement in negotiations with the bank, the PWC audit, inter-company transfers, etc. In
addition, it may become necessary to hire a forensic accountant.

Mehdi has provided us with two boxes of documents, which I am currently reviewing. I
will supplement this memo upon my review.
¢
Case 1:09-cv-04095-PAC-JCF Document 93-1 Filed 12/02/10 Page 11 of 20
Exhibit “F”
UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA )

) . .
VS. ) PRESENTENCE INVESTIGATION REPORT

)
- MEHDI GABAYZADEH ) DOCKET NO. 03-CR-162(S-2)-04

 

Prepared for: The Honorable Joanna Seybert '
United States District Judge |
Prepared by: Cregory Giblin °
United States Probation Officer
Assistant U.S. Attorney - Defense Counsel (Retained)
James Miskiewicz, Esq. Raymond Perini, Esq.
John Martin, Esq. 1770 Motor Parkway

Hauppauge, New York 11749
(631) 232-2224

Sentence Date: December 16, 2005 @ 10:00 a.m.

Offense: See Page 3.

Arrest Date: March 10, 2003

Release Status: Released on March 10, 2003, on $5,000,000 property-

secured bond, subject to home detention with ~
electronic monitoring. The defendant was removed
from home detention on April 11, 2003, with no
Pretrial Services reporting conditions. He was
subsequently remanded on April 13, 2005.

Detainers: None
Other Defendants: Edward I. Stein, Amzad Ali, Yaghoub Lavi (docket

# 05-CR-55), and John Lorenz (docket # 02-CR-
1017) are awaiting sentencing before Your Honor.

Date Report Prepared: November 21, 2005
15.

16.

17.

Case 1:09-cv-04095-PAC-JCF Document.93-1 Filed 12/02/10 Page 12 of 20

These sales figures were reported to the LaSalle Syndicate in, among other
documents, the collateral reports.

Between November 2000 and May 2001, Gabayzadeh and Stein diverted millions
of dollars due and owing to “inside the box" companies, which were required to be
paid to the LaSalle Lockbox to "outside the box" companies, including Super
American Tissue, Inc. Specifically, in November 2000 and March 2001,
Gabayzadeh and Stein solicited two pulp brokers, Central National Gottesman
and Eckman, to make loans totaling $9 million to Super American Tissue, Inc.
According to the agreements reached with these brokers, the brokers would be
repaid with inventory belonging to Pulp Paper of America, an American Tissue
affiliate, which was an "inside the box" company subject to the security provisions
of the LaSalle Revolver. American Tissue and Pulp Paper of America invoiced
these purchases, which created over $9 million worth of accounts receivables
reported to the LaSalle Syndicate for the purposes of borrowing under the LaSalle
Revolver. American Tissue had no hope of collecting these accounts receivables,
as Central National Gottesman and Eckman already paid for the pulp.

In furtherance of the scheme, Stein created a shell company by the name of New
England Market Pulp. Under certain transactions with Central National
Gottesman and Eckman, Stein used New England Market Pulp, who would in turn
invoice Central National Gottesman and Eckman. This diverted inventory created
an uncollectible receivable on Pulp Paper of America's books against New Engalnd
Market Pulp. It further disguised sales to Central National Gottesman and

Eckman, which both already had sizable and aging receivables.

According to agents, from April 2001 to May 2001, Gabayzadeh, Stein and Amzad
Ali reached out to various customers in an effort to. obtain purchase orders.
Specifically, Stein contacted officials from three customers of American Tissue:
Cellulose Sales, Aaron Enterprises, and Mid Atlantic Pulp and Paper. Amzad Ali
contacted officials from Hansen Paper, and Gabayzadeh contated officials from
Royal paper and Plastirun, a company owned by his brother-in-law, Yaghoub Lavi.
These company's officials agreed to create false invoices to purchase rolls of paper
at no risk, knowing that American Tissue would buy back the rolls if the
companies were unable to sell any portion of them. This meant that the purchases
were not genuine sales that would enable borrowing through the LaSalle Revolver.
As a result of the foregoing, Gabayzadeh and Stein created false invoices and
related false documentation for $20 million worth of fictitious sales transactions in
an effort to further inflate Americati Tissue's borrowing capacity through the
LaSalle Revolver. The fictitious sales were then claimed as accounts receivable
amounts reported to the LaSalle Syndicate in collateral reports.
22.

23.

Case 1:09-cv-04095-PAC-JCF Document 93-1 Filed 12/02/10 Page 13 of 20

10

be seeking confirmation of more than $4 million worth of receivables and

requested that Eckman acknowledge the debt. The Eckman official refused the

request, stating that all the pulp was paid for in advance and that Eckman owed no
money to American Tissue. Gabayzadeh implored the Eckman official to give the
auditors an answer that would provide American Tissue with some leeway with the
LaSalle Syndicate, however, the official refused.

At a bank meeting on August 15, 2001, Gabayzadeh and Stein ultimately
acknowledged that American Tissue had diverted approximately $25 million owed
to the LaSalle lockbox. Specifically, Gabayzadeh stated that American Tissue
directed its customers to pay invoices owed to the lockbox to outside the box
companies, and then used the funds to pay off American Tissue's debts. Following
this disclosure, officials representing the LaSalle Syndicate sent auditors and
consultants to American Tissue's headquarters to investigate the status of
American Tissue's accounts receivables. The auditors and consultants confirmed
that more than $30 million of the accounts receivables were uncollectible.
Officials from the LaSalle Syndicate directed American Tissue to retain a crisis
management team, and American Tissue hired Price Waterhouse Coopers on
August 17, 2001. Price Waterhouse Coopers auditors found additional accounting
irregularities, including a $20 million overvaluation of American Tissue's
inventory, and that American Tissue was selling its inventory at a loss. According
to the Government, as a result of the bank fraud scheme, the La Salle Syndicate -
suffered a total loss of $64,682,588.38.

The Collapse of American Tissue

In approximately September 2001, in an effort to save the company, Gabayzadeh
forced Stein to resign and advised Lorenz to disclose all information to Price
Waterhouse Coopers. Consequently, Lorenz disclosed that there was massive
accounting fraud at American Tissue. On September 5, 2001, American Tissue
filed a notice with the United States Securities and Exchange Commission (SEC)
advising that Edward I. Sten resigned and that there were materially false
statements made in American Tissue's publicly filed consolidated financial
statements for fiscal years 1999 and 2000. Although American Tissue's equity was
privately held, as previously noted, American Tissue issued approximately $165
million in bonds in July 1999. On September 10, 2001, American Tissue and over
twenty affiliated companies filed for Chapter 11 bankruptcy protection in United
States Bankruptcy Court in Delaware. A number of other companies, which had
been created or acquired by Gabayzadeh that fell under the American Tissue
umbrella, were not forced into bankruptcy, including Super American Tissue Inc.
and Middle American Tissue. The bankruptcy of American Tissue was caused in
large part by the repeated fraudulent acts committed by Gabayzadeh, Stein,

Lorenz, Ali, and others.
Case 1:09-cv-04095-PAC-JCF Document 93-1 Filed 12/02/10 Page 14 of 20

BRAFMAN & ASSOCIATES, P.C .
ATTORNEYS AT LAW
767 THIRD AVENUE Exhibit co”
26TH FLOOR
NEW YORK, NEW YORK I1O00!7
TELEPHONE: (212) 750-7800
FACSIMILE: (212) 750-3906

 

BENJAMIN BRAFMAN E-MAIL: BBRAFMAN@BRAFLAW.COM MARK M, BAKER
* OF COUNSEL
JENNIFER A. LIANG
ANDREA ZELLAN : -
BRIAN E. KLEIN May 9, 2007
KAREN NEWIRTH
LEGAL MAIL TO BE OPENED

 

ONLY IN PRESENCE OF INMATE
VIA EXPRESS MAIL
PERSONAL & CONFIDENTIAL
Mehdi Gabayzadeh

Inmate #68419-053

FCI - Fort Dix

P.O. Box 7000

Fort Dix, New Jersey 08640

 

Dear Mr. Gabayzadeh:
A. Introduction.

| want to take this opportunity to respond to your letters of April 4, 2007 and
April 23, 2007. In those letters you “demand’that I provide you with copies of all of
my firm’s records of billable hours (including a breakdown of billable hours of time,
etc.); and you further request proof that my firm reviewed thousands of documents
and. arranged for interviews of various witnesses. You also assert that if | fail to
comply with your demands, you will file some type of unspecified attorney grievance
against me.

You are, of course, free to present any complaint you have with any
appropriate disciplinary authority. | stand ready to advise such an authority of the
facts and circumstances of my firm’s representation of you. My response would
demonstrate that at all times | and my firm acted competently and diligently in
representing you. Furthermore my response would demonstrate that | have no legal
or ethical responsibility to spend thousands of dollars of my firm’s resources
compiling a summary of my firm’s work in your case, particularly, given the fact that
when you substituted the firm of Perini and Hoerger for this firm in 2004, you then

eace €1%
vs ‘

Pit
Rh he fe ;
Case 1:09-cv-04095-PAC-JCF Document 93-1 Filed 12/02/10 Page 15 of 20

BRAFMAN & ASSOCIATES, PC.

owed this firm approximately $350,000.00, pursuant to a fixed fee agreement.

To fully review your entire file and to summarize all the work performed, would
cost a substantial amount of time and effort in attorney and paralegal time. Itis my
view — and the view of an independent ethics expert with whom | have consulted that
— that | have no legal obligation to prepare a summary of the work performed,
including a summary of the witnesses interviewed, unless you: 1) pay your
outstanding balance of approximately $350,000; and 2) forward to me a payment of
at least $15,000.00 to secure payment for time which would be expended in
preparing a summary of the work performed in your case.’ Should you pay my firm
your unpaid legal balance and should you pay my firm for the time to be spent in
preparing a summary of the work performed, | stand ready to provide you with the
materials you request. oo .

Having provided the short answer to your requests for a summary of the work
performed by my firm, my comments below are addressed to several larger issues.

B. The History Of My Firm’s Representation Of You. |

Although it is not clear from your two letters, it appears that you are seeking
to somehow challenge your current fifteen year prison sentence, by arguing that my
firm did not adequately represent you at the time of your sentence. Although | am
not required to do so, | do want to address that issue briefly.

| have attached to this letter, several hundred pages of materials which are
easily printable from my firm’s computer hard-drive system which reflect that | and
my firm’s legal staff competently, diligently and zealously represented you.” In

 

1) am advised by my firm’s outside ethics consultant that cases such as Sage Realty Corp. V.
Proskauer Rose Goetz & Mendelson, 91 N.Y.2d 30 (1997), stand for the proposition that a client is not entitled
to a copy of his or her file if the client still owes the attorney money, and, the client is responsible for any
assemblage and delivery charges in terms of producing the files to the client. | am advised that the same
principles articulated in the Sage Realty case apply to your request.

2Included within those enclosed documents are summary bills which were sent to you during the initial
phase of my firm’s representation of you during which you were billed by the hour. The underlying “time
sheets” from which those summary bills were prepared were handwritten time sheets that were not preserved
after the completion of the matter, nor are they are required to be maintained. See 22 N.Y.C.R.R. Section
1200.46(d)(5)(attorney need only maintain for designated period the bills actually rendered to the client); New
York County Lawyer’s Association Opinion 725 (1998) (only case documents belonging exclusively to the
client [such as a will or deed or other personal document] need be returned to the client at the conclusion of
a lawyer's representation of a client); New York State Bar Association Opinion 623 (Nov. 7, 1991) (same).
Had you during the course of the representation or even months thereafter, asked for the “back up” for the
bills you received, that back up would have been provided to you. However, that backup documentation is

“UO
ob

GE CA)
Case 1:09-cv-04095-PAC-JCF Document 93-1 Filed 12/02/10 Page 16 of 20

BRAFMAN & ASSOCIATES, Pc.

addition to the attached documents, there are approximately 100 storage boxes of

~ legal materials — containing tens of thousands of documents pertinent to you case
— which my firm and Perini and Hoerger maintain in storage. | also note that your
son John already has taken possession of many boxes of documents as well. All of
these materials together, demonstrate that my firm capably represented you and in
part, also reflect the work performed by my firm, the volume of materials we needed
to review, as well as the firm that handled your trial. | invite your representative to
contact my firm and | will allow those documents to be reviewed under supervision
(with the costs of delivery from storage and the costs of supervision to be paid by
you in advance).

As you are aware, Perini & Hoerger, the law firm which represented you at
your trial, currently has tens of thousands of documents maintained in approximately
60 boxes relating to your case. Those boxes include work performed by my firm.
The majority of documents contained in those 60 boxes were turned over to the
Perini & Hoerger by my firm at your request, in April of 2004 when you hired that firm
to replace my firm to represent you in the continuing pre-trial and trial phases of your
Federal criminal case. Itis also my further understanding that the Perini & Hoerger
firm gave your son John, many additional boxes of materials. | assume that John
still maintains those files and they too are reflective of work performed by my firm
and the Perini firm.

Although lam notina position to detail the specifics of the work performed by
my firm — and could not do so without a costly a review of the tens of thousands of —
case documents — suffice it to say that:

¢ During the course of my firm’s representation of you,
work was performed in a variety of areas that

 

simply no longer available, so many years after the end of my firm's representation of you — which is the very
first time you made any request for information relating to the specifics of the work performed in your case,
at a time when we billed you on an hourly basis. ;

Finally, let me remind you that my firm is not obligated to provide you with any form of financial
“accounting” of the work for the fees received beyond the bills you received when you were an hourly client.
Please remember that you initially retained my firm with the understanding that it would bill you on an hourly
basis for the work that we were to perform on your behalf at the rates set out in the original Agreement. In
October of 2002, several months after my firm was initially retained to represent you on an hourly basis, at
your request, your case was converted to a fix fee matter (for which no accounting is due to you for services
rendered). Also, in April of 2004, more than three years ago, after being competently represented by my firm
— you replaced my firm with.Perini & Hoerger who handled your trial.. Thereafter, following your conviction,
you again retained my firm to represent you ona fixed fee basis at the post-conviction stage. Again, my firm’s
representation of you at that post-conviction stage was on a fixed fee basis and for which you are not entitled
to an accounting. Copies of a computer printout of the various Retainer Agreements are included with the
materials | am providing.

PAGE CB
Case 1:09-cv-04095-PAC-JCF Document 93-1 Filed 12/02/10 Page 17 of 20
BRAFMAN &.ASSOCIATES, P.C.

extended far beyond the purely criminal aspect of the
case. As you know, you were facing far more than
just a criminal investigation being conducted by the
United States Attorney for the Eastern District of New
York: For example, there was a pending Bankruptcy
Proceeding against American Tissue that was being
litigated before Judge Burton R. Lifland in the United
States Bankruptcy Court for the Southern District of
New York. My firm was required to review voluminous
files in connection with those. proceedings to
determine their impact on the criminal case.

e« . There were also various other civil litigations pending
against you in New York and Chicago. My firm had to _
communicate on your behalf with more than a dozen
law firms in order to keep abreast of these matters
which at first you insisted on trying to defend on the
merits. While we ultimately referred you to civil
counsel to handle these litigations, my firm also had
to work with that firm as well, because my primary
concern was how these related. litigations would
impact on the criminal investigation in the Eastern
District of New York. . .

° My firm was required to participate in and monitor not
only multiple civil litigations that were being filed
against you on a regular basis, but my firm’s staff also
had to review and respond to a Complaint filed.
against you by the Securities and Exchange
Commission. .

° My firm was also required to review the ongoing
bankruptcy proceedings in which you figured very
prominently. Although my firm was ultimately able to _
refer some of these legal matters to other lawyers who
then undertook primary responsibility for monitoring
those proceedings, all of the issues in those cases
were passed through my firm.at some point, because
they all impacted in some fashion on the Eastern
District of New York criminal investigation.

PAG ECY¥)
Case 1:09-cv-04095-PAC-JCF Document 93-1 Filed 12/02/10 Page 18.0f 20

BRAFMAN & ASSOCIATES, PC,

° My firm conducted a professional and competent fact
investigation of your case. The attached documents
include some of the important witnesses who were
debriefed by my firm during our service as your
counsel. These memoranda were retrieved off of
computers at my firm that were easily downloaded.
Other memoranda and documents reflecting work by
my firm is available for your representatives. to
examine in the more than 100 banker size boxes of
materials.

° The bail proceedings in your case represented
another major commitment of time and resources by
this firm. There was an extensive and hotly contested
bail proceeding in April of 2003, when my associate,
Jennifer Liang, Esq., and | spent several full days in
Central Islip interviewing more than a dozen suretors
and eventually persuading the Court to allow you to
remain free on $5 million bail up until after you were
convicted at trial when you were remanded. In
connection with the bail proceeding alone, Jennifer
and | had to review many financial records provided
by the many suretors you produced, many of them
were interviewed by us and then in our presence, by |
agents of the Federal Bureau of Investigation.

° Me and members of my staff also spent many hours
working with Pernini and Hoerger after they were
substituted as trial counsel in place of this firm, in
order to ensure an orderly transition.

° Although my firm was replaced as your trial counsel,
you and your family literally pleaded with me to come
back into the case and serve as co-counsel with Perini
and Hoerger to represent you at sentencing. | believe
that it was because of the extraordinary efforts by my

_ firm that you received only a 15 year sentence, as
opposed .to the possible life sentence which you
would have received had the Court accepted the initial
Guideline calculation arrived at by the Probation |
Department; or at the very least, the 20 year sentence

Pace (5)
Case 1:09-cv-04095-PAC-JCF Document 93-1 Filed 12/02/10 Page 19 of 20
BRAFMAN & ASSOCIATES, P.C.

strongly recommended by the Government. The
various members of your family who spoke to me
subsequent to the sentencing, said quite openly that
it was my efforts on your behalf at sentencing, that
ultimately persuaded the Courtthata 15 year sentence
‘was more than adequate. In connection with those |

_ proceedings we also produced a massive Sentencing
Memorandum on your behalf.

After all is said and done, there is no question that my firm represented you
capably and competently, and should you or your representative undertake a full
review of the documents in this case, you will clearly see that to be true.

C. Conclusion.

It appears from the tone of your letters, that you’ intend to blame your
conviction and/or your sentence on me in some manner; and/or that you hope to
somehow recoup the fees paid to my firm by claiming that my firm did not represent
you properly. | simply will not go along with such tactics.

The only one to blame for your conviction is you; and you most assuredly, are
not entitled to any refund of fees. You committed the crimes for which you are
incarcerated; my firm ably represented you during the pre-trial and sentencing
phases; and your attempt to assess blame against my firm is part of the same mind
set that caused you to commit the crimes in question and caused you to persist in
your decision to proceed to trial, when all of your lawyers strongly urged you to plead
guilty, as in our collective judgment, an acquittal was virtually impossible in view of
the overwhelming evidence against you.

| will not undertake to review and summarize the many boxes of documents
which reflect the work performed by my firm, nor do | have any legal obligation to do
so. Of course, should your family choose to pay my firm for that factual review, and
to pay my firm’s outstanding balance, my firm stands ready to undertake that task.

| know that you are very bitter about the length of the sentence you received
and | recognize that you feel the need to find someone to blame for the predicament
you find yourself in. | hope that you one day will come to realize however that it was
only because of my firm’s extraordinary efforts on your behalf that you did not

PAGE (6)
Case 1:09-cv-04095-PAC-JCF Document 93-1 Filed 12/02/10 Page 20 of 20

BRAFMAN & ASSOCIATES, P.C.

receive an even more onerous sentence and that while we were your attorneys, we
did our best to represent you. ,

Very truly yours,

aaah

Benjamin Brafman

 
 
 

Encl.

cc: John Gabayzadeh
(By facsimile [516-639-8333])

Perini & Hoerger
( By facsimile [631-232-2344])

PAGEL 2

et
